Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 1 of 13 Page ID #:236




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 15
      LOS ANGELES WATERKEEPER
 16
 17
                                   UNITED STATES DISTRICT COURT

 18                             CENTRAL DISTRICT OF CALIFORNIA
 19
 20   LOS ANGELES WATERKEEPER, a                Case No. 2:17-cv-05960-AB-AGR
      non-profit corporation,
 21
                                                JOINT RULE 26(f) REPORT
 22                   Plaintiff,
 23
              vs.
 24                                             Conference Date: May 4, 2018
 25   CITY FIBERS, INC., a corporation,         Time: 10:00 a.m.
                                                Courtroom: 7B
 26                    Defendant.
 27
 28
      Joint Rule 26(f) Report                                Case No. 2:17-cv-05960-AB-AGR
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 2 of 13 Page ID #:237




  1           This Joint Rule 26(f) Report is submitted on behalf of Plaintiff Los Angeles
  2
      Waterkeeper (“Waterkeeper”) and Defendant City Fibers, Inc. (“City Fibers”) in
  3
      accordance with Federal Rule of Civil Procedure 26(f) and Local Rule 26-1 and
  4
  5   Judge André Birotte Jr.’s January 3, 2018 Order Setting Scheduling Conference.

  6           By way of background, this case involves claims by Waterkeeper that City
  7   Fibers has allegedly violated the Clean Water Act and more specifically City Fibers’
  8
      general industrial storm water permit for City Fibers’ industrial facilities located in
  9
      Los Angeles and North Hills, California (the “Facilities”). City Fibers disputes these
 10
 11   allegations.
 12       a. Statement of the Case
 13           This case involves allegations by Waterkeeper that City Fibers has violated the
 14
      Federal Water Pollution Control Act, 33 U.S.C. § 1251, et seq. (the “Clean Water
 15
      Act”) and the general industrial storm water permit (the “General Permit”) for four of
 16
 17   City Fibers’ industrial facilities located in Los Angeles and North Hills, California
 18   (the “Facilities”). More specifically, Waterkeeper raises the following claims against
 19
      City Fibers: (1) failure to implement Best Available Technology Economically
 20
      Achievable (“BAT”) and Best Conventional Pollutant Control Technology (“BCT”)
 21
      for the Facilities’ storm water discharges, (2) discharges of contaminated storm water
 22
 23   in violation of the General Permit and the Clean Water Act, (3) failure to prepare,
 24   implement, review and update adequate storm water pollution prevention plans
 25
      (“SWPPP”), and (4) failure to develop and implement an adequate monitoring and
 26
      reporting programs.
 27
 28
              Defendant’s position is that it has satisfied and continues to satisfy its
      Joint Rule 26(f) Report                                       Case No. 2:17-cv-05960-AB-AGR
 29                                                 2
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 3 of 13 Page ID #:238




  1   obligations under the Storm Water Permit and the CWA, including but not limited to,
  2
      adherence to the substantive and procedural terms of the Storm Water Permit and the
  3
      CWA, developing and implementing an adequate SWPPP, monitoring plans, and
  4
  5   performing adequate sampling and monitoring of its discharges as required by the

  6   Storm Water Permit and the CWA.
  7           Defendant contends that this citizen suit brought by Plaintiff has no merit as it
  8
      provides no benefit to the public at large.
  9
          b. Subject Matter Jurisdiction
 10
 11           Waterkeeper asserts subject matter jurisdiction pursuant to Section
 12   505(a)(1)(A) of the Clean Water Act, 33 U.S.C. § 1365(a)(1)(A), and 28 U.S.C. §
 13   1331 (for actions arising under the laws of the United States).
 14
              In its Answer, Defendant asserts that Plaintiff’s Complaint fails to establish
 15
      jurisdiction.
 16
 17           Legal Issues – Plaintiff’s Statement
 18           The key legal issues involved in this matter are: (1) whether City Fibers has
 19
      violated and continues to violate the Clean Water Act, (2) whether City Fibers has
 20
      violated and continues to violate the General Permit, (3) whether City Fibers has
 21
      discharged and continues to discharge polluted storm water and non-storm water
 22
 23   pollutants from the Facility in violation of the General Permit conditions, and (4)
 24   whether City Fibers has caused or contributed to and continues to cause or contribute
 25
      to an exceedance of the water quality standards for the Los Angeles River. There are
 26
      no unusual substantive, procedural, or evidentiary issues. Plaintiff does not agree to
 27
 28
      Defendant’s request to bifurcate the case into a liability and remedy phase.
      Joint Rule 26(f) Report                                      Case No. 2:17-cv-05960-AB-AGR
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 4 of 13 Page ID #:239




  1   Bifurcating the case, as proposed by Defendant, would unnecessarily prolong the
  2
      litigation and burden the Court and parties with additional costs and repetitive
  3
      procedures, effectively requiring two trials.
  4
  5   Legal Issues – Defendant’s Statement

  6           Defendant’s position is that it has satisfied and continues to satisfy its
  7   obligations under the Storm Water Permit and the CWA, including but not limited to,
  8
      adherence to the substantive and procedural terms of the Storm Water Permit and the
  9
      CWA, developing and implementing an adequate SWPPP, monitoring plans, and
 10
 11   performing adequate sampling and monitoring of its discharges as required by the
 12   Storm Water Permit and the CWA.
 13           Defendant contends that this citizen suit brought by Plaintiff has no merit as it
 14
      provides no benefit to the public at large.
 15
              Defendant requests that this Court bifurcate this action into a liability phase and
 16
 17   remedy phase. This will streamline the liability phase as no resources will need to be
 18   spent on issues solely relevant to remedy. For example, under the CWA, the amount
 19
      of a penalty for each violation is dependent on several factors, including the alleged
 20
      seriousness of the violations and Defendant’s economic benefit by allegedly not
 21
      complying with the law. Both of these considerations likely involve expert testimony,
 22
 23   but neither is relevant to the issue of liability.
 24       c. Parties, Evidence, etc.
 25
              The parties involved in the above-captioned matter are Waterkeeper and City
 26
      Fibers. At this time, Waterkeeper has no percipient witnesses to report. At this time,
 27
 28
      City Fibers has no percipient witnesses to report since discovery has not yet begun.
      Joint Rule 26(f) Report                                       Case No. 2:17-cv-05960-AB-AGR
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 5 of 13 Page ID #:240




  1   City Fibers maintains and reserves the right to name percipient witnesses as its
  2
      investigation unfolds. The key documents, include but are not limited to, are: (1) the
  3
      General Permit, (2) City Fibers’ annual reports for the Facilities, (3) City Fibers’
  4
  5   SWPPPs for the Facilities, (4) City Fibers’ storm water monitoring plan and

  6   monitoring implementation plans for the Facilities, (5) City Fibers’ Annual Site
  7   Compliance Evaluations, (6) lab analyses for storm water samples and other sampling
  8
      documents, (7) Site maps for the Facilities, (8) all Facilities’ records required to be
  9
      maintained by the General Permit, (9) all documents reflecting the installation and
 10
 11   maintenance of storm water controls and BMPs at the Facilities, (10) all documents
 12   reflecting any corrective actions taken with respect to storm water controls at the
 13   Facilities, (11) all documents that Defendant believes are relevant to the fact that
 14
      Defendant has satisfied and continues to satisfy its obligations under the Storm Water
 15
      Permit and the CWA, and (12) all documents submitted to the State Water Board and
 16
 17   Regional Water Board including documents that are uploaded to SMARTS. This list
 18   is not exhaustive and additional key documents may arise during the course of
 19
      discovery. City Fibers has no subsidiaries, parents, and/or affiliates to identify for
 20
      conflict purposes.
 21
          d. Damages
 22
 23           There are no damages at issue in the present case. Damages are not available to
 24   Plaintiff under the Clean Water Act.
 25
          e. Insurance
 26
              At this time, City Fibers does not have insurance coverage applicable to this
 27
 28
      action.
      Joint Rule 26(f) Report                                     Case No. 2:17-cv-05960-AB-AGR
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 6 of 13 Page ID #:241




  1       f. Motions
  2
              At this time, the parties do not anticipate the filing of any motions seeking to
  3
      add other parties or claims, seeking to file an amended pleading or seeking to transfer
  4
  5   venue.

  6       g. Dispositive Motions
  7           Waterkeeper believes that all of its claims for liability may be determined by
  8
      way of summary judgment. Defendant contemplates filing a dispositive motion, and
  9
      potentially motions to compel discovery. Defendant also anticipates that there may be
 10
 11   motions in limine regarding, including but not limited to, evidentiary issues and
 12   admissibility of expert reports and opinions.
 13       h. Manual for Complex Litigation
 14
              At this time, the parties agree that there is no need to designate this matter as
 15
      “complex” or to utilize all or part of the procedures of the Manual for Complex
 16
 17   Litigation. The Parties, do however, note that due to the rain season this merits the
 18   extended briefing and schedule in the Discovery Plan below.
 19
          i. Status of Discovery
 20
              Because the Parties have been diligently working together on settlement efforts,
 21
      neither party has served any discovery requests in this matter.
 22
 23       j. Discovery Plan
 24                    1. Subjects
 25
                                i. Plaintiff’s Discovery Statement
 26
              To the extent discovery moves forwards, Waterkeeper will propound written
 27
 28
      discovery, seek to conduct site inspections of the Facilities, including during several
      Joint Rule 26(f) Report                                        Case No. 2:17-cv-05960-AB-AGR
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 7 of 13 Page ID #:242




  1   rain events, and anticipates taking depositions. Waterkeeper would plan to serve City
  2
      Fibers with requests for inspection of land and property, requests for production of
  3
      documents, requests for admissions. and written interrogatories. At this time,
  4
  5   Waterkeeper anticipates the following subjects of discovery:

  6           1. Information related to operations and maintenance at the Facilities;
  7           2. Information related to actual and potential sources of pollutants to storm
  8
                   water at the Facilities;
  9
              3. Information related to storm water discharges from the Facilities, including
 10
 11                when they occurred, where they occurred, the presence of pollutants, the
 12                volume of discharges, and other relevant information;
 13           4. Information related to the storm water management measures that have been
 14
                   proposed or implemented at the Facilities;
 15
              5. Information related to any other pollutant discharges to water from the
 16
 17                facility governed by the Facilities’ General National Pollutant Discharge
 18                Elimination System (“NPDES”) permit;
 19
              6. Information relating to City Fibers’ interactions with the Los Angeles
 20
                   Regional Water Quality Control Board (“Regional Board”) and/or State
 21
                   Water Resources Control Board (“State Board”);
 22
 23           7. Waterkeeper intends to conduct sufficient site inspections in order to
 24                characterize storm water quantity and quality at the Facilities during the
 25
                   present wet season and to evaluate any implemented or other available storm
 26
                   water pollution management measures.
 27
 28
      Joint Rule 26(f) Report                                       Case No. 2:17-cv-05960-AB-AGR
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 8 of 13 Page ID #:243




  1           8. Information relating to decisions by City Fibers’ management and/or
  2
                   governing body relating to compliance with the requirements of the Clean
  3
                   Water Act;
  4
  5           9. Information relating to the Clean Water Act’s criteria for assessing civil

  6                penalties, including but not limited to City Fibers’ financial information and
  7                its ability to pay civil penalties and install storm water management
  8
                   measures; and
  9
              10. Information relating to the identity and responsibilities of all persons with
 10
 11                information relating to any of the above categories of information.
 12                ii. Defendant’s Discovery Statement
 13           Defendant proposes that discovery be completed in two phases, consistent with
 14
      bifurcation of the case into two phases – a liability phase and a remedy phase.
 15
      Defendant proposes that the Parties conduct discovery regarding the penalty factors,
 16
 17   in particular Defendant’s financial information, subsequent to the liability phase,
 18   during discovery on the remedy phase of the case (if applicable). As such, Defendant
 19
      specifically proposes that any discovery regarding Defendant’s finances and/or any
 20
      other penalty factors (if applicable), be postponed until after the Court has ruled on
 21
      the question of Defendant’s liability. Defendant anticipates conducting discovery on
 22
 23   several topics that may be relevant to its affirmative defenses. Defendant also
 24   anticipates conducting discovery regarding written protocols for testing samples,
 25
      including method of collection, maintenance and transportation of samples, splits,
 26
      laboratory procedures, testing data, analyses, and the like.
 27
 28
      Joint Rule 26(f) Report                                        Case No. 2:17-cv-05960-AB-AGR
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 9 of 13 Page ID #:244




  1           Although Defendant has attempted to provide a thorough overview of the issues
  2
      upon which it intends to focus its discovery efforts, the above list may be expanded as
  3
      the Defendant’s investigation unfolds. Defendant will use the discovery methods
  4
  5   provided for in the Federal Rules of Civil Procedure, Local Rules, and/or relevant

  6   case law as necessary to ascertain whether Plaintiff has gathered any additional
  7   evidence that does not derive from the storm water pollution prevention plan or
  8
      monitoring implementation plan. Defendant objects to Plaintiff’s attempt to oversee
  9
      operations at its facility and will not agree to multiple site inspections. Defendant will
 10
 11   agree to one site inspection (in addition to the site inspection that Plaintiff has already
 12   conducted at the site under confidential settlement privilege) of identified areas on a
 13   mutually agreeable date and time subject to: (1) being provided with specification
 14
      regarding the areas/equipment to be inspected; (2) being provided with specification
 15
      regarding the method(s)/manner in which the inspection will take place, such as
 16
 17   length of inspection, persons attending, collection methods, splits, tests, etc.; (3) being
 18   provided with specification in the inspection demand if there are vague and
 19
      ambiguous terms regarding the definition(s) and scope of the inspection; (4) an
 20
      executed protective order and/or confidentiality agreement that adequately protects
 21
      Defendant’s proprietary, confidential, or/or trade secret information; and (5) each
 22
 23   person who enters the premises signs a sign-in sheet and a liability release/waiver.
 24                    2. Limitations
 25
              Plaintiff requests that the Court increase to 50 the number of interrogatories that
 26
      may be requested by each party. At this time, Defendant does not seek any
 27
 28
      modifications of the discovery rules.
      Joint Rule 26(f) Report                                      Case No. 2:17-cv-05960-AB-AGR
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 10 of 13 Page ID #:245




   1                    3. Phases
   2
               Plaintiff does not propose that discovery be conducted in phases or be limited to
   3
       focus on particular issues.
   4
   5           Defendant proposes that discovery be completed in two phases, consistent with

   6   bifurcation of the case into two phases – a liability phase and a remedy phase.
   7   Defendant proposes that the Parties conduct discovery regarding the penalty factors,
   8
       in particular Defendant’s financial information, occur subsequent to the liability
   9
       phase, during discovery on the remedy phase of the case (if applicable). As such,
  10
  11   Defendant specifically proposes that any discovery regarding Defendant’s finances
  12   and/or any other penalty factors (if applicable), be postponed until after the Court has
  13   ruled on the question of Defendant’s liability.
  14
           k. Discovery Cut-off
  15
               Plaintiff proposes a discovery cut-off date of May 30, 2019. Defendant agrees
  16
  17   to this date as long as that schedule relates to the liability phase of this case only.
  18       l. Expert Discovery
  19
               At this time, the parties agree that expert witnesses will be retained and utilized
  20
       in this case. As noted above, Plaintiff’s proposed schedule for expert discovery is as
  21
       follows:
  22
  23           i.       February 28, 2019 – Complete initial expert disclosures
  24
               ii.      March 28, 2019 – Complete rebuttal expert disclosures
  25
  26           iii.     May 30, 2019 – Expert discovery cut-off
  27
  28
       Joint Rule 26(f) Report                                       Case No. 2:17-cv-05960-AB-AGR
  29                                                 10
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 11 of 13 Page ID #:246




   1   Defendant agrees to the above dates as long as that schedule relates to the liability
   2
       phase of this case only. Defendant suggests that the parties have a status conference
   3
       after the close of the proposed liability phase and set a schedule for the remedy phase.
   4
   5       m. Settlement Conference / Alternative Dispute Resolution (“ADR”)

   6           The Parties have attempted to pursue a settlement agreement and have made
   7    progress on a potential settlement. To facilitate settlement, on June 26, 2017,
   8
        Waterkeeper conducted a confidential site inspection of the Facilities. Since that
   9
        time, the Parties have had numerous discussions regarding proposed settlement
  10
  11    measures and have agreed on several key features that would comprise a consent
  12    decree. During the past several months, the Parties have exchanged drafts of
  13    proposed consent decrees and hope to finalize their negotiations during the next few
  14
        months.
  15
               Should the Parties be unable to reach a settlement agreement on their own, they
  16
  17    believe that a mediation with a court-appointed neutral would be useful to finalize an
  18    agreement. The parties have agreed on a mediator should this be necessary. A
  19
        mediation session would not be useful until approximately September 2018, as the
  20
        parties would like to negotiate on their own prior to this point.
  21
           n. Trial Estimate
  22
  23           City Fibers has requested a trial by jury on all issues triable to a jury. The
  24   parties estimate that the trial of this case as to liability and remedy will take
  25
       approximately 6 days. As stated above, Defendant requests that this Court bifurcate
  26
       the case into two phases – a liability phase and a remedy phase. Waterkeeper does not
  27
  28
       agree to bifurcation of the case. Waterkeeper anticipates calling 4-5 witnesses during
       Joint Rule 26(f) Report                                       Case No. 2:17-cv-05960-AB-AGR
  29                                                11
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 12 of 13 Page ID #:247




   1   the trial. At this time, City Fibers anticipates calling 4-5 witnesses during the trial.
   2
       Although the parties have attempted to provide a good faith estimate of the number of
   3
       witnesses it anticipates calling at trial, the above numbers may change as the parties’
   4
   5   investigation unfolds.

   6       o. Trial Counsel
   7           The names of the attorneys who will try the case for Waterkeeper are: Michael
   8
       R. Lozeau and Douglas J. Chermak. The names of the attorneys who will try the case
   9
       for City Fibers are: William W. Funderburk, Jr and Ruben A. Castellon.
  10
  11       p. Independent Expert or Master
  12           The parties agree that there is no need for the Court to appoint a master
  13   pursuant to Rule 53 or an independent scientific expert.
  14
           q. Schedule Worksheet
  15
               The parties direct the Court’s attention to the completed Schedule of Trial and
  16
  17   Pretrial Dates form attached to this Joint Rule 26(f) Report as Exhibit “A.” Defendant
  18   agrees to the dates on the worksheet as long as that schedule relates to the liability
  19
       phase of this case only. The parties note that the worksheet requests that the trial date
  20
       be within 18 months after the Complaint is filed. While the parties are confident that
  21
       this case will not proceed to trial, as they are far along with settlement efforts, in the
  22
  23   unlikely event that the settlement talks fall through, plaintiff will need to conduct
  24   discovery (including expert discovery) during the rainy months of the year. This is
  25
       because this case primarily involves storm water pollution and rain in the geographic
  26
       area typically occurs through the end of March. Therefore, the parties have requested
  27
  28
       a trial date that permits time for such discovery.
       Joint Rule 26(f) Report                                      Case No. 2:17-cv-05960-AB-AGR
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Case 2:17-cv-05960-AB-AGR Document 20 Filed 04/20/18 Page 13 of 13 Page ID #:248




   1
   2
           r. Other Issues
   3
               The parties reserve the right to come back to the Court with any issues that arise
   4
   5   as this case proceeds through discovery.

   6
   7                                           Respectfully submitted,
   8
   9
       Dated: April 20, 2018                   LOZEAU DRURY LLP
  10
  11
                                                        /s/ Douglas J. Chermak
  12
                                                        Douglas J. Chermak
  13                                                    Attorneys for Plaintiff LOS ANGELES
                                                        WATERKEEPER
  14
  15
  16
  17   Dated: April 20, 2018                   CASTELLON & FUNDERBURK LLP
  18
  19                                                    /s/ William W. Funderburk, Jr.
  20                                                    (as authorized on 4/20/18)
                                                        William W. Funderburk, Jr.
  21
                                                        Attorneys for Defendant CITY FIBERS,
  22                                                    INC.
  23
  24
  25
  26
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       Joint Rule 26(f) Report                                     Case No. 2:17-cv-05960-AB-AGR
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